'Case 2:03-cV-02647-SHI\/|-STA Document 40 Filed 05/19/05 Page 1 of 4 Page|D 53

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lN THE UNITED STATES DISTRICT COURT wu ' '

FOR THE WESTERN DISTRICT OF TENNESSEE ;'_l§j §:§;§`;' 59 gist 62 go

 

 

WESTERN DIVISION
PATRICIA CoNGUY, )
)
Plaintiff, )
)
)
v. ) CIVIL ACTION No. 2-03-€\/_2647 MAV
)
)
UNUMPRo\/IDENT CoRPoRATIoN; )
d/b/a UNUM LIFE INSURANCE )
CoMPANY oF AMERICA; AND UNUM )
LIFE leURANCE CoMPANY oF )

AMERICA; and Fictitious Defendants “A”, )
“B”, and “C”, Whether singular or plural, are)
those other persons, corporations, tirms, or )
other entities Whose Wrongful conduct )
caused or contributed to cause the injuries )
and damages to the Plaintiff, all of Whose )
true and correct names are unknown to )
Plaintiff at this time, but will be substituted )
by amendment When ascertained, )

)

)

Defendants.

 

['PROPO'S-E-B] ORDER GRANTING J()INT MOTION FOR M()DIFICATION
OF JANUARY 28, 2004 SCHEDULING ORDER

 

lt appearing to the Court that the parties' Join Motion for Moditication of January
28, 2004 Scheduling Orders should be granted;

IT IS, THEREFORE, ORDERED that this Court's January 28, 2004, Scheduling
Order governing this ERISA case shall be modified as follows:

Conguy shall file a Motion to Reverse the Plan
Administrator's Decision to Deny Benefits on or before

M LMC| 377056 vi
2790335-000005 05/04/05 This document entered on the docket sheet in com ltance

with Ru[e 58 and/or 79{a) FRCP on ' 'O

 

. Case 2:03-cV-02647-SHI\/|-STA Document 40 Filed 05/19/05 Page 2 0f4 Page|D 54

July 15, 2005. Unum Shall tile its responsive brief on or
before August 15, 2005.

Date: 222/§ if ZQ§
By: Sfj/;;'MJ @--

United States Magistrate Judge

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UNTED sTAETS DISTRICT COU T - WESTERN D STICT F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:03-CV-02647 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

